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                      UNITED STATED DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


SARAH DUNCAN, RICHARD
SILVER, ANTHONY                           Civil Action No. 1:16-CV-12120-DJC
WEISSENBURGER, JUDY
WEISSENBURGER, SHAUN
COONEY, CLINTON STEWART,
MICHELLE LIM STEWART,
VINCENT CHIARELLI, PHILIP
DRAGONETTI, MICHELE
MASZON, LISA SUROWEIC and
JOHN COMPTON, individually and
on behalf of others similarly situated,

                    Plaintiffs,

          vs.

NISSAN NORTH AMERICA, INC.,

                    Defendant.


      ASSENTED-TO MOTION FOR APPROVAL OF SETTLEMENT
             WITH OBJECTOR BETH WILLIAMSON

      Pursuant to Fed. R. Civ. P. 23(e)(5)(C) and Fed. R. Civ. P. 62.1(a), Plaintiffs

Sarah Duncan, Richard Silver, Anthony Weissenburger, Judy Weissenburger,

Shaun Cooney, Clinton Stewart, Michelle Lim Stewart, Vincent Chiarelli, Philip

Dragonetti, Michele Maszon, Lisa Suroweic and John Compton (collectively,

“Plaintiffs”) respectfully move the Court for an Order approving the individual
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settlement with Objector Beth Williamson (“Ms. Williamson”). In support of the

motion, Plaintiffs state the following:

      1.     On August 25, 2020, this Court entered an Order approving the

Settlement in the within class action and certifying the settlement class of owners

of Class Vehicles in the States of Massachusetts, New York, New Jersey, Florida,

Maryland, Colorado, Texas, Oregon and North Carolina. ECF No. 152. Final

Judgment was entered by the Court on September 28, 2020. ECF No. 155.

      2.     On September 28, 2020, Ms. Williamson filed a notice of appeal of

the Court’s final approval order. ECF No. 154.

      3.     An individual settlement of $2,750 was reached with Ms. Williamson

that involved reimbursement of some of the costs of the repairs she had made to

her settlement class vehicle.

      4.     Fed. R. Civ. P. 23(e)(5) requires that the Court grant approval of any

settlement with an objector.

      5.     Because Ms. Williamson’s appeal was pending in the First Circuit,

pursuant to Fed. R. Civ. P. 23(e)(5)(C) and Fed. R. Civ. P. 62.1(a), Plaintiffs

previously filed with this Court an assented-to motion for indicative ruling that it

would grant approval of the individual settlement with Ms. Williamson if the First

Circuit remanded or dismissed the appeal. ECF No. 160.




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       6.    The Court allowed the motion, finding that resolution of Ms.

Williamson’s appeal by way of an individual settlement would be in the best

interest of the Class Members and that the Court “will grant the motion for

approval of the settlement with [Ms. Williamson] if the Court of Appeals for the

First Circuit remands for that purpose or, alternatively decides to dismiss the

appeal. ECF No. 163.

       7.    On December 3, 2020, Ms. Williamson filed with the First Circuit a

Notice of Withdrawal of Appeal. Exhibit A hereto.

       8.    On December 4, 2020, Plaintiff filed an assented-to motion with the

First Circuit to dismiss Ms. Williamson’s appeal so that this Court could approve

the individual settlement with Ms. Williamson and the approval of the class action

settlement could become final. Exhibit B hereto.

       9.    On December 9, 2020, the First Circuit dismissed Ms. Williamson’s

appeal, issued its mandate and the case was remanded to this Court. ECF Nos. 164-

165.

       10.   In light of the forgoing, Plaintiffs now move this Court to grant

approval of the individual settlement with Ms. Williamson. A proposed order is

attached hereto as Exhibit C.




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Dated: January 7, 2021             Respectfully submitted,


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                                   Counsel for Plaintiffs/Appellees
                                   and the Settlement Class




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                 LOCAL RULES 7.1(a)(2) CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), counsel for Plaintiffs conferred with all
parties before filing this motion and all parties assented to this motion.

                                     /s/ Adam M. Stewart
Dated: January 7, 2021               Adam M. Stewart



                              Certificate of Service

      I hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) on January 7, 2021.

      I further certify that a copy of this document was served by e-mail on
January     7,    2021,    on    Objector/Appellant  Beth    Williamson    at
beth.sarah.williamson@gmail.com.



                                     /s/ Adam M. Stewart
                                     Adam M. Stewart
